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 7                           UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     UNITED STATES OF AMERICA,                            NO. CR05-452-RSM
10
                                   Plaintiff,
11

12          v.                                            SUMMARY REPORT OF
                                                          U.S. MAGISTRATE JUDGE AS
13   TRACY D. McWILLIAMS,                                 TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
14                                 Defendant.
15
            An initial hearing on a petition for violation of supervised release was held before the
16
     undersigned Magistrate Judge on March 24, 2010. The United States was represented by
17
     Assistant United States Attorneys Andrew Friedman and Steven Masada, and the defendant by
18
     Stewart Riley.
19
            The defendant had been charged and convicted of Conspiracy, in violation of 18 U.S.C.
20
     § 371 and Bank Fraud, in violation of 18 U.S.C. § 1344. On or about September 15, 2006,
21
     defendant was sentenced by the Honorable Ricardo S. Martinez, to a term of twenty-one
22
     months in custody, to be followed by five years of supervised release.
23
            The conditions of supervised release included the requirements that the defendant
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     comply with all local, state, and federal laws, and with the standard conditions. Special
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     conditions imposed included, but were not limited to, participation in substance abuse and
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
          Case 2:05-cr-00452-RSM            Document 135         Filed 03/24/10    Page 2 of 3




 1   mental health programs, financial disclosure, $55,006.21 restitution, search, business

 2   disclosure, no new credit, and no other identification.

 3          In a Petition for Warrant or Summons, dated February 24, 2010, U.S. Probation Officer

 4   Donald E. Moon asserted the following violations by defendant of the conditions of her

 5   supervised release:

 6          (1)     Failing to make monthly restitution payments as directed since June 20, 2007, in

 7                  violation of a special condition.

 8          (2)     Failing to submit 2008 Federal Income Tax Returns as directed on January 21,

 9                  2009, in violation of a special condition.

10          (3)     Failing to submit a written report for the months of July 2007 through January

11                  2009, March 2009 through September 2009, November and December 2009,

12                  and January 2010, in violation of standard condition number 2.

13          (4)     Failing to participate as instructed in a substance abuse program on or about

14                  January 11, 2010, in violation of a special condition.

15          (5)     Using cocaine and marijuana on or about February 21, 2010, in violation of

16                  standard condition number 7.

17          The defendant was advised of her rights, acknowledged those rights, and admitted to

18   alleged violations 1, 2, 3, 4 and 5.

19          I therefore recommend that the Court find the defendant to have violated the terms and

20   conditions of her supervised release as to violations 1, 2, 3, 4 and 5 and that the Court conduct

21   a hearing limited to disposition. A disposition hearing on these violations has been set before

22   the Honorable Ricardo S. Martinez on April 9, 2010 at 11:30 a.m.

23   //

24   //

25   //

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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
           Case 2:05-cr-00452-RSM        Document 135        Filed 03/24/10     Page 3 of 3




 1          Pending a final determination by the Court, the defendant has been released, subject to

 2   supervision.

 3                  DATED this 24th day of March, 2010.

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                                                 A
                                                 JAMES P. DONOHUE
 6                                               United States Magistrate Judge

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 8
     cc:    District Judge:               Honorable Ricardo S. Martinez
 9
            AUSA:                         Andrew Friedman and Steven Masada
10          Defendant’s attorney:         Stewart Riley
            Probation officer:            Donald E. Moon
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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 3
